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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

          -v-                                                   No. 12-cr-45-2 (RJS)
                                                                      ORDER
 JERMAINE DORE,

                               Defendant.



RICHARD J. SULLIVAN, Circuit Judge:

         Defendant Dore’s resentencing is scheduled to take place on January 15, 2021 at 3:00 p.m.

in Courtroom 12D at the Daniel Patrick Moynihan Courthouse, 500 Pearl Street, New York, NY,

10007.    (Doc. No. 671).     Due to Court-imposed social distancing requirements during the

pandemic, the proceeding will instead take place in Courtroom 24B at the Daniel Patrick Moynihan

Courthouse, 500 Pearl Street, New York, NY, 10007.

SO ORDERED.

Dated:          January 11, 2021
                New York, New York
                                                     ___________________________
                                                     RICHARD J. SULLIVAN
                                                     UNITED STATES CIRCUIT JUDGE
                                                     Sitting by Designation
